              IN THE DISTRICT COURT OF THE UNITED STATES
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          CHARLOTTE DIVISION
                     DOCKET NO. 3:13-CR-333-RJC-DCK


UNITED STATES OF AMERICA,     )
                              )
             Plaintiff,       )
                              )
vs.                           )                   ORDER
                              )
                              )
HUGO REBAZA, JR.              )
                              )
             Defendant.       )
_____________________________ )



       THIS MATTER IS BEFORE THE COURT on Denzil H. Forrester’s “Application For

Admission To Practice Pro Hac Vice” (Document No. 36) filed February 28, 2014 as to Jose Rodriguez.

It appearing that Jose Rodriguez is a member in good standing with the Florida State Bar and will be

appearing with Denzil H. Forrester, a member in good standing with the Bar of this court, that all

admission fees have been paid, and that the email address of the attorney seeking admission has been

provided, the court enters the following Order.

       IT IS THEREFORE ORDERED:

       That Denzil H. Forrester’s “Application For Admission To Practice Pro Hac Vice” (Document

No. 36) of Jose Rodriguez is hereby GRANTED, and that Jose Rodriguez is ADMITTED to practice,

Pro Hac Vice, before the Bar of this court while associated with Denzil H. Forrester.

       SO ORDERED.


                                              Signed: March 3, 2014




    Case 3:13-cr-00333-RJC         Document 39         Filed 03/03/14    Page 1 of 1
